Case: 4:18-cv-01680-AGF Doc. #: 136 Filed: 11/16/23 Page: 1 of 1 PageID #: 2815

                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 22-3000
                                      ___________________

                                         Heather De Mian

                                                Plaintiff - Appellant

                                                  v.

    City of St. Louis, Missouri; John Hayden, COL., in his individual and official capacities;
                 William Olsten, Officer, in his individual and official capacities

                                   Defendants - Appellees
______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:18-cv-01680-AGF)
______________________________________________________________________________

                                           JUDGMENT


Before COLLOTON, GRASZ and KOBES, Circuit Judges.


       This appeal from the United States District Court was submitted on the record of the

district court, briefs of the parties and was argued by counsel.

       After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is affirmed in accordance with the opinion of this Court.

                                                       November 16, 2023




Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans


   Appellate Case: 22-3000          Page: 1       Date Filed: 11/16/2023 Entry ID: 5336204
